Case 9:22-mj-08332-BER Document 18-1 Entered on FLSD Docket 08/11/2022 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-MJ-8332-BER

   IN RE SEALED SEARCH WARRANT

   ________________________________/

                                      PROPOSED ORDER

            The United States of America, having applied to this Court for an Order to Unseal

   Limited Warrant Materials, filed on August 11, 2022, and the Court, having reviewed the

   motion [and the responses filed to the motion] and being fully advised in the premises, it is

   hereby

            ORDERED that:

         1. The Motion to Unseal Limited Warrant Materials is GRANTED.

         2. Docket Entry 17 and its attachment are hereby UNSEALED.

    Any other warrant-related materials shall remain SEALED pending any further order of the

   Court.

            DONE AND ORDERED in chambers in _________________, Florida, this ___ day

   of August 2022.

                                             ____________________________________
                                             UNITED STATES MAGISTRATE JUDGE

   cc:      U.S. Attorney Juan Antonio Gonzalez
